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· · · · · · ·IN THE UNITED STATES DISTRICT COURT
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· · · · · · · · · · ··DISTRICT OF ARIZONA
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· ·
· ··Ronald H. Pratte,· · · · · · · · · ··)
· · · · · · · · · · · · · · · · · · · · ·)
· · · · ·Plaintiff,· · · · · · · · · · ··)
· · · · · · · · · · · · · · · · · · · · ·)
· ··vs.· · · · · · · · · · · · · · · · ··) No.
· · · · · · · · · · · · · · · · · · · · ·) 2:19-cv-00239-
· ··Jeffrey Bardwell and Fanny F.· · · ··) PHX-GMS
· ··Bardwell, husband and wife,· · · · ··)
· · · · · · · · · · · · · · · · · · · · ·)
· · · · ·Defendants.· · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · · ·)
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· · · · · · · · ·DEPOSITION OF WILLIAM SHISLER
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· · · · · · · · · · · ··Phoenix, Arizona
· · · · · · · · · · · ··August 14, 2020
· · · · · · · · · · · · · ·11:00 a.m.
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· ·REPORTED BY:
· ·ANITA LANDEROS, RPR
· ·Certified Reporter
· ·Certificate No. 50538
· ·
· ·PREPARED FOR:
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                                  August 14, 2020

·1· · · · · · · · ··DEPOSITION OF WILLIAM SHISLER
 · ··
·2· ·was taken on August 14, 2020, commencing at 11:14 a.m., at
 · ··
·3· ·9619 South 25th Lane, Phoenix, Arizona, before Anita
 · ··
·4· ·Landeros, a Certified Reporter in the State of Arizona,
 · ··
·5· ·attending via videoconference.
 · ··
·6· ·
 · ··
·7· ·COUNSEL APPEARING VIA VIDEOCONFERENCE:
 · ··
·8· ·For the plaintiff:
 · ··
·9· · · · ·By:··MR. GREGORY B. COLLINS
 · ·· · · ·Kercsmar & Feltus, PLLC
10· · · · ·7150 East Camelback Road
 · ·· · · ·Suite 285
11· · · · ·Scottsdale, Arizona··85251
 · ··
12· ·
 · ··
13· ·
 · ··For the defendants:
14· ·
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 · ·· · · ·Phoenix, Arizona··85016
17· ·
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18· ·
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21· ·
 · ··
22· ·
 · ··For Mr. William Shisler
23· · · · ·By:··MR. D. SAMUEL COFFMAN
 · ·· · · ·Dickinson Wright PLLC
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·1·   ·too.

·2·   · · ·Q.· ·And what did he say?

·3·   · · ·A.· ·He said:··Yes.

·4·   · · ·Q.· ·Okay.··Did you explain to Mr. Pratte at that time

·5·   ·the difference between making a gift to someone versus

·6·   ·paying them compensation for future services?

·7·   · · ·A.· ·The only person that would have qualified to be

·8·   ·an employee of that group would have been Mr. Bardwell.

·9·   · · · · · · · ·And I'm positive that I told Mr. Pratte that

10·   ·he would owe less tax if he could pay Mr. Bardwell's, and

11·   ·Mr. Carriere's too, actually, amounts as payroll.··That

12·   ·would shift the tax liability to the individuals from

13·   ·Mr. Pratte.

14·   · · ·Q.· ·When you say that you're positive that you told

15·   ·him that, that would have been good advice to give to one

16·   ·of your clients, but you're actually positive, as you sit

17·   ·here today, that you had that discussion with him 15 years

18·   ·ago?

19·   · · ·A.· ·Yes.··I mean, that was a very memorable event.

20·   · · ·Q.· ·Okay.··The people on the list, do you remember

21·   ·who was on the list?

22·   · · ·A.· ·I do.··The three children and their spouses,

23·   ·Mr. and Mrs. Todd Carriere, and Mr. and Mrs. Jeff

24·   ·Bardwell.

25·   · · ·Q.· ·So you remember that Mr. Pratte had on the list
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·1·   ·life, would you agree with me that it was appropriate to

·2·   ·file a Form 709, even if this was compensation for

·3·   ·services?

·4·   · · · · · · · ·MR. MARLOWE:··Objection to form.

·5·   · · · · · · · ·THE WITNESS:··The part that was compensation

·6·   ·for services would not go on a 709.

·7·   · · ·Q.· ·BY MR. COLLINS:··Okay.··Explain that to me.

·8·   · · ·A.· ·Well, a gift is simply a gift.··And payroll is

·9·   ·payroll.··Gifts go on the 709.··And payrolls are reported

10·   ·as such and may or may not be deductible, as we discussed.

11·   · · ·Q.· ·Okay.··So was any analysis done?··And I know the

12·   ·answer to the question, but was any analysis done as to

13·   ·how much salary Mr. Bardwell was likely to earn over the

14·   ·course of his lifetime?

15·   · · ·A.· ·Not by me.

16·   · · ·Q.· ·You're aware that it's possible for somebody to

17·   ·make a contingent gift, right?

18·   · · ·A.· ·Yes.

19·   · · ·Q.· ·What is your understanding of what a contingent

20·   ·gift is?

21·   · · ·A.· ·Well, just that, it's contingent upon performance

22·   ·of something, whether it's the house appreciating value or

23·   ·holding -- displaying something in a museum until death.

24·   ·I can't think of any other examples.

25·   · · ·Q.· ·Okay.··Contingent gifts would still be reported
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·1·   ·on a Form 709, correct?

·2·   · · ·A.· ·Yes.

·3·   · · ·Q.· ·I want to move forward to Mr. Bardwell's divorce.

·4·   ·You indicated at one point Mr. Bardwell came to you or had

·5·   ·a conversation with you and asked for the gift tax return,

·6·   ·right?

·7·   · · ·A.· ·Yes.

·8·   · · ·Q.· ·Okay.··Do you remember if that was a telephone

·9·   ·call, in-person meeting?

10·   · · ·A.· ·In person.

11·   · · ·Q.· ·Okay.··What do you remember about that

12·   ·conversation?

13·   · · ·A.· ·I remember Jeff asking me for it and me saying,

14·   ·Number 1, no; you have to ask Mr. Pratte.··And, Number 2,

15·   ·why do you need it?

16·   · · · · · · · ·He said:··My wife's divorce attorney wants

17·   ·it.

18·   · · · · · · · ·And I said:··No.

19·   · · ·Q.· ·Do you remember explaining to Mr. Bardwell during

20·   ·that meeting that the gift tax return might not be helpful

21·   ·in his divorce?

22·   · · ·A.· ·I don't specifically recall that.

23·   · · ·Q.· ·Do you recall any conversations about how the

24·   ·payment might be characterized on the gift tax return with

25·   ·Mr. Bardwell?
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·1·   ·away.··I'm borrowing Mr. Collins' computer.··I have one

·2·   ·question, just kind of a follow-up to the questions that

·3·   ·Greg was asking you.

·4·   · · · · · · · ·(Technical difficulties.··A brief recess was

·5·   ·taken.)

·6·   · · ·Q.· ·BY MR. CONNELLY:··Okay.··We got rid of a couple

·7·   ·of the systems, so I think it's just you and I here.

·8·   · · ·A.· ·Okay.

·9·   · · ·Q.· ·You were not unfamiliar with the gift tax return

10·   ·Form 709 that Mr. Collins was asking you about, were you?

11·   · · ·A.· ·No, I was not.

12·   · · ·Q.· ·Okay.··So it was something you had worked with

13·   ·previously?

14·   · · ·A.· ·I have prepared tax returns previously, yes.

15·   · · ·Q.· ·And you were aware that if any of these five

16·   ·transfers, these five gifts, were to carry a contingency,

17·   ·that you could have acknowledged that on the 709, correct?

18·   · · ·A.· ·I was not aware of any contingencies, so --

19·   · · ·Q.· ·I understand that.

20·   · · ·A.· ·-- yes, they could have been acknowledged on the

21·   ·709.

22·   · · ·Q.· ·I understand that.··Thank you.

23·   · · · · · · · ·But if you had been aware of any

24·   ·contingencies for Mr. Pratte or anyone for that matter, it

25·   ·could have been included in the 709 filing?
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·1· ·STATE OF ARIZONA· · · ·)
 · ·· · · · · · · · · · · ··) ss.
·2· ·COUNTY OF MARICOPA· · ·)
 · ··
·3· ·
 · ·· · · · · ·BE IT KNOWN that the foregoing proceedings
·4· ·were taken before me; that the witness before testifying
 · ··was duly sworn by me to testify to the whole truth; that
·5· ·the foregoing pages are a full, true and accurate record
 · ··of proceedings, all done to the best of my skill and
·6· ·ability; that the proceedings were taken down by me in
 · ··shorthand and thereafter reduced to print under my
·7· ·direction.
 · ··
·8· ·
 · ·· · · · · ·I certify that I am in no way related to any
·9· ·of the parties hereto nor am I in any way interested in
 · ··the outcome hereof.
10· ·
 · ··
11· · · · · · ·[X]··Review and signature was requested.
 · ·· · · · · ·[ ]··Review and signature was waived.
12· · · · · · ·[ ]··Review and signature not required.
 · ·· · · · · ·[ ]··Review and signature was requested, but
13· ·deponent did not do so within 30 days after notification.
 · ··
14· · · · · · ·I certify that I have complied with the
 · ··ethical obligations set forth in ACJA 7-206(F)(3) and ACJA
15· ·7-206 J(1)(g)(1) and (2).··Dated at Phoenix, Arizona,
 · ··this 18th of August, 2020.
16· ·
 · ··
17· · · · · · · · ·_________________________
 · ·· · · · · · · · ··ANITA LANDEROS, RPR
18· · · · · · · · · ··Certified Reporter
 · ·· · · · · · · · ··Arizona CR No. 50538
19· ·
 · ··
20· · · · · · · · · ·*· ··*· ··*· ··*· ··*· ··*
 · ··
21· · · · · · ·I certify that ANITA LANDEROS REPORTING, INC.,
 · ··has complied with the ethical obligations set forth in
22· ·ACJA 7-206 (J)(1)(g)(1) through (6).
 · ··
23· ·
 · ·· · · · · · ·________________________________
24· · · · · · · · ·ANITA LANDEROS REPORTING, INC.,
 · ·· · · · · · · · ··Registered Reporting Firm
25· · · · · · · · · · ··Arizona RRF No. R1077

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